






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-05-00204-CR






Cedric Jerome Dixon, Appellant



v.



The State of Texas, Appellee







FROM THE DISTRICT COURT OF BELL COUNTY, 264TH JUDICIAL DISTRICT


NO. 56688, HONORABLE JOE CARROLL, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



Appellant Cedric Jerome Dixon was convicted of aggravated robbery following his
plea of guilty.  See Tex. Pen. Code Ann. § 29.03 (West 2003).  The court sentenced him to twenty-five years in prison.

Dixon's court-appointed attorney filed a brief concluding that the appeal is frivolous
and without merit.  The brief meets the requirements of Anders v. California, 386 U.S. 738 (1967),
by presenting a professional evaluation of the record demonstrating why there are no arguable
grounds to be advanced.  See also Penson v. Ohio, 488 U.S. 75 (1988); High v. State, 573 S.W.2d
807 (Tex. Crim. App. 1978); Currie v. State, 516 S.W.2d 684 (Tex. Crim. App. 1974); Jackson v.
State, 485 S.W.2d 553 (Tex. Crim. App. 1972); Gainous v. State, 436 S.W.2d 137 (Tex. Crim. App.
1969).  Dixon received a copy of counsel's brief and was advised of his right to examine the
appellate record and to file a pro se brief.  No pro se brief has been filed.

We have reviewed the record and counsel's brief and agree that the appeal is frivolous
and without merit.  We find nothing in the record that might arguably support the appeal.  Counsel's
motion to withdraw is granted.

The judgment of conviction is affirmed.



				___________________________________________

				Bea Ann Smith, Justice

Before Justices B. A. Smith, Puryear and Pemberton

Affirmed

Filed:   September 15, 2005

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